UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 NDF1, LLC,
                      Plaintiff,

    -against-                                                CORPORATE DISCLOSURE
                                                             STATEMENT

PAUL GOMEZ; NATALIA GOMEZ; NASSAU                            Docket No.:
COUNTY T&PVA; “JOHN DOE” and “JANE
DOE,” the last two names being fictitious, said
parties intended being tenants or occupants, if any,
having or claiming an interest in, or lien upon, the
premises described in the complaint,

                                Defendants.



       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, the undersigned counsel for

plaintiff NDF1, LLC (“Plaintiff”), a private non-governmental party, certifies the following:

       I declare that Plaintiff has no corporate affiliate, subsidiaries, and/or parent corporation and

no publicly held corporation owns 10% or more of its stock.

       NDF1, LLC is a company created under the laws of the State of Florida with its principal

place of business in the State of Florida and the domicile of its members are in Florida. As a result,

for purposes of diversity pursuant to 28 U.S.C. § 1332(a), Plaintiff is a citizen of Florida.


       Dated: August 16, 2023
              New York, New York


                                                               /s/ Shauna DeLuca
                                                               Shauna DeLuca, Esq.
                                                               Counsel for Plaintiff
